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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 BRIAN JAMIE ROETHLISBERGER,

                               Plaintiff,                     Docket No. 1:19-cv-5315

        - against -                                           JURY TRIAL DEMANDED


 DANCE MEDIA PUBLICATIONS, LLC

                                Defendant.


                                            COMPLAINT

       Plaintiff Brian Jamie Roethlisberger (“Roethlisberger” or “Plaintiff”) by and through his

undersigned counsel, as and for his Complaint against Defendant Dance Media Publications,

LLC (“Dance Media” or “Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act and for the removal and/or alteration of copyright management information under Section

1202(b) of the Digital Millennium Copyright Act. This action arises out of Defendant’s

unauthorized reproduction and public display of a copyrighted photograph of ballet dancer Chase

Finlay, owned and registered by Roethlisberger, a New York based professional photographer.

Accordingly, Roethlisberger seeks monetary relief under the Copyright Act of the United States,

as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant resides and/or transacts business in New York.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Roethlisberger is a professional photographer in the business of licensing his

Photograph for a fee having a usual place of business at 689 Myrtle Avenue, 1D, Brooklyn, New

York 11205.

       6.      Upon information and belief, Dance Media is a domestic business corporation

duly organized and existing under the laws of the State of Delaware, with a place of business at

428 Broadway, 4th Floor, New York, New York 10013. Upon information and belief, Dance

Media is registered with the New York Department of State Division of Corporation to do

business in the State of New York. At all times material hereto, Dance Media has owned and

operated a website at the URL: www.DanceMagazine.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Roethlisberger photographed ballet dancer Chase Finlay (the “Photograph”). A

true and correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Roethlisberger is the author of the Photograph and has at all times been the sole

owner of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with United States Copyright Office and was

given Copyright Registration Number VA 2-142-812.

       B.      Defendant’s Infringing Activities
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          10.    On September 5, 2018, Dance Media ran an article on the website entitled A

Former SAB Student Is Suing NYCB for Creating A “Frat-Like” Environment. See:

https://www.dancemagazine.com/chase-finlay-2602286032.html. The article featured the

Photograph. Screenshot of the Photograph on the Website is attached hereto as Exhibit B.

          11.    Dance Media did not license the Photograph from Plaintiff for its article, nor did

Dance Media have Plaintiff’s permission or consent to publish the Photograph on its Website.

                             FIRST CLAIM FOR RELIEF
                     (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                (17 U.S.C. §§ 106, 501)

          12.    Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.    Dance Media infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Dance Media is not, and has never been,

licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          14.    The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.    Upon information and belief, the foregoing acts of infringement by Dance Media

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.    As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.
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                      SECOND CLAIM FOR RELIEF
      INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION AGAINST
                             DEFENDANT
                             (17 U.S.C. § 1202)

       17.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-16 above.

       18.     Upon information and belief, Dance Media intentionally and knowingly removed

copyright management information identifying Plaintiff as the photographer of the Photograph.

       19.     The conduct of Dance Media violates 17 U.S.C. § 1202(b).

       20.     Upon information and belief, Dance Media’s falsification, removal and/or

alteration of the aforementioned copyright management information was made without the

knowledge or consent of Plaintiff.

       21.     Upon information and belief, the falsification, alteration and/or removal of said

copyright management information was made by Dance Media intentionally, knowingly and

with the intent to induce, enable, facilitate, or conceal their infringement of Plaintiff’s copyright

in the Photograph. Dance Media also knew, or should have known, that such falsification,

alteration and/or removal of said copyright management information would induce, enable,

facilitate, or conceal their infringement of Plaintiff’s copyright in the Photograph.

       22.     As a result of the wrongful conduct of Dance Media as alleged herein, Plaintiff is

entitled to recover from Dance Media the damages, that he sustained and will sustain, and any

gains, profits and advantages obtained by Dance Media because of their violations of 17 U.S.C. §

1202, including attorney’s fees and costs.
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       23.     Alternatively, Plaintiff may elect to recover from Dance Media statutory damages

pursuant to 17 U.S.C. § 1203(c) (3) in a sum of at least $2,500 up to $25,000 for each violation

of 17 U.S.C. § 1202.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Dance Media be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      The Defendant Prometheus be adjudged to have falsified, removed and/or altered

               copyright management information in violation of 17 U.S.C. § 1202.

       3.      That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

               gains or advantages of any kind attributable to Defendant’s infringement of

               Plaintiff’s Photograph;

       4.      That, with regard to the Second Claim for Relief, Plaintiff be awarded either:

               a) Plaintiff’s actual damages and Defendant’s profits, gains or advantages of any

               kind attributable to Defendant’s falsification, removal and/or alteration of

               copyright management information; or b) alternatively, statutory damages of at

               least $2,500 and up to $ 25,000 for each instance of false copyright management

               information and/or removal or alteration of copyright management information

               committed by Defendant pursuant to 17 U.S.C. § 1203(c);

       5.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       6.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to

               17 U.S.C. § 1203(b);
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       7.     That Plaintiff be awarded punitive damages for copyright infringement;

       8.     That Plaintiff be awarded attorney’s fees and costs;

       9.     That Plaintiff be awarded pre-judgment interest; and

       10.    Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       June 5, 2019
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